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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FEDERAL TRADE COMMISSION
600 Pennsylvania, Avenue, N.W.
Washington, DC 20580

Plaintiff,

Vv. Civil Action No.

ARDAGH GROUP S.A.
56, rue Charles Martel,

Luxembourg
L-2135

and

COMPAGNIE DE SAINT-GOBAIN
“Les Miroirs” 18, avenue d’ Alsace
92400 Courbevoie

France

and
SAINT-GOBAIN CONTAINERS, INC.
1509 S. Macedonia Avenue
Muncie, Indiana 47307

Defendants.

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PLAINTIFF’S MOTION AND MEMORANDUM OF POINTS AND AUTHORITIES IN

SUPPORT OF ITS REQUEST FOR A PRELIMINARY INJUNCTION AND REQUEST

FOR SCHEDULING CONFERENCE

1. Motion for Preliminary Injunction and Statement of Supporting Points and
Authorities.

Plaintiff, the Federal Trade Commission (the “Commission”), by its designated attorneys,
moves this Court pursuant to Section 13(b) of the Federal Trade Commission Act, 15 U.S.C. §

53(b), for a preliminary injunction enjoining defendant Ardagh Group S.A. (“Ardagh”),
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including its domestic and foreign agents, divisions, subsidiaries, affiliates, partnerships, and
joint ventures, from acquiring any stock, assets, or other interest, directly or indirectly, of
defendant Saint-Gobain Containers, Inc. (“Saint-Gobain”) from defendant Compagnie De Saint-
Gobain.

Ardagh’s proposed acquisition of Saint-Gobain would combine the second- and third-
largest glass container manufacturers in the United States, resulting in an effective duopoly. This
proposed acquisition will likely cause anticompetitive effects in at least two relevant antitrust
product markets: the manufacture and sale of glass containers to (1) beer brewers (“Brewers”)
and (2) spirits distillers (“Distillers”). The Commission has determined that it has “reason to
believe” that the proposed acquisition of Saint-Gobain by Ardagh would violate Section 7 of the
Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45. In these
circumstances, Section 13(b) of the FTC Act authorizes the Commission to seek a preliminary
injunction halting the proposed merger until the Commission “has had an opportunity to
adjudicate the merger’s legality in an administrative proceeding.” FTC v. CCC Holdings, Inc.,
605 F. Supp. 2d 26, 35 (D.D.C. 2009) (citing 15 U.S.C. § 53(b)). The Commission voted to
authorize the administrative complaint in this matter on June 28, 2013 and the trial of this case
on the merits before an administrative law judge is scheduled to begin on December 2, 2013.

Because Defendants have threatened to close their proposed acquisition before the
completion of the administrative trial, the Commission needs a preliminary injunction from this
Court to preserve its ability to obtain adequate relief and to prevent harm to consumers. A

preliminary injunction would be in the public interest based on a weighing of the equities and the
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Commission’s likelihood of success on the merits. FTC v. H.J. Heinz Co., 246 F.3d 708, 714
(D.C. Cir. 2001).

Il. Request for Scheduling Conference.

Defendants have agreed not to consummate the proposed acquisition until two business
days after this Court rules on the Commission’s motion for preliminary injunction. A stipulation
reflecting this agreement is attached to this motion.

The parties have conferred regarding a proposed scheduling order and briefing schedule
for this matter and request a brief telephonic scheduling conference with the Court in order to
facilitate those discussions.

The Commission respectfully requests the opportunity to present oral argument in
support of its preliminary injunction motion.

Notice of this motion has been given to Defendants’ attorneys by the undersigned
attorney prior to the filing of the present action and Defendants’ attorneys have indicated that
they oppose the motion for a preliminary injunction, but join in the request for a scheduling
conference.

A proposed preliminary injunction Order and Order memorializing the stipulation is

attached.

Dated: July 2, 2013
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Counsel:

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Federal Trade Commission
Bureau of Competition

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Respectfully submitted,

EDWARD D. HASSI

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Federal Trade Commission
Bureau of Competition

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Attorney for Plaintiff
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FEDERAL TRADE COMMISSION,
600 Pennsylvania Avenue N.W.
Washington D.C. 20580

Plaintiff,

Vv. Civil Case No. -CV- ( )

ARDAGH GROUP S.A.,
56, rue Charles Martel,
Luxembourg
L-2135

and

COMPAGNIE DE SAINT-GOBAIN
“Les Miroirs” 18, avenue d’ Alsace
92400 Courbevoie
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and

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Defendants.

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STIPULATION AND [PROPOSED] ORDER
WHEREAS, plaintiff, the Federal Trade Commission (the “Commission’”), filed the instant
action on July 2, 2013, seeking, among other relief, a preliminary injunction enjoining Defendant
Ardagh Group S.A (““Ardagh Group”) from acquiring Defendant Saint-Gobain Containers, Inc. from
Defendant Compagnie de Saint-Gobain (the ‘“‘acquisition’’);
WHEREAS, absent this Stipulation, Defendant Ardagh Group would be free to consummate

the proposed acquisition after 11:59 p.m., Eastern Daylight Time, on July 5, 2013; and
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WHEREAS, the parties have agreed that Defendant Ardagh Group will not consummate the
proposed acquisition until two business days after the Court rules on the Commission’s motion for a
preliminary injunction seeking to enjoin the acquisition.

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED AMONG THE
PARTIES:

1. Defendant Ardagh Group shall not consummate any acquisition of any stock, assets, or other
interest, of Defendants Compagnie de Saint-Gobain or Saint-Gobain Containers, Inc. until
two business days after the Court rules on the Commission’s motion for a preliminary
injunction, pursuant to Section 13(b) of the Federal Trade Commission Act.

2. Defendant Ardagh Group shall take any and all necessary steps to prevent any of its domestic
or foreign agents, divisions, subsidiaries, affiliates, partnerships, or joint ventures from
making any such acquisition.

3. This Stipulation and Order is without prejudice to any rights or defenses that any Defendant
may have, and any Party may seek to amend this Stipulation and Order at any time upon

proper notice.
Dated: July 2, 2013

Respectfully submitted,

SC.
By: A

—

Edward Hassi, Esq.

Bureau of Competition

Federal Trade Commission

600 Pennsylvania Avenue, N.W.
Washington, DC 20580
202-326-2470

Counsel for Plaintiff Federal Trade
Commission
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By £

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Counsel for Defendant Ardagh Group S.A.

By AGE, —_
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$25 Eighth Avenue, Worldwide ?{aza

New York, NY. 10019

Counsel tor Defendants Compagnic de Saint-Gobain and
Saint-Gobain Containers, inc,

ENTERED. this day of

Caited States District Judge
